IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

GENTEX CORPORATION,
Plaintiff,

NO. 4: l 7-cv-Ol l 36-l\/IWB

HELICOPTER HELMET, LLC,

Defendant.

MEMOMNDUM GF LAW IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS
PURSUANT TO FRCP 12(b)(1) AND 12(b)(6) OR IN THE ALTERNATIVE, TO
TRANSFER CASE TO DELAWARE PURSUANT TO 28 U.S.C. §1404(a)

Pursuant to Rules l2(b)(l) and l2(b)(6) of the Federal Rules of Civil Procedure,
Defendant Helicopter Helmet, LLC (“Defendant”), by and through undersigned counsel, hereby
moves this court to dismiss the complaint of Plaintiff Gentex Corporation (“Plaintiff") for lack of
subject matter jurisdiction and failure to state a claim upon Which relief can be granted or in the
alternative, to transfer the case to the District of Delaware pursuant to 28 U.S.C. §l404(a).

NATURE AND STAGE ()F THE PROCEEDINGS

On June 27, 2017, Plaintiff GenteX Corporation (“Gentex” or “Plaintiff”) filed a
Complaint against Defendants Helicopter Helmet, LLC (“HHC” or “Defendant”), alleging
breach of contract (Count l) breach of duty of good faith and fair dealing (Count ll), and seeking
declaratory relief under 28 U.S.C. § 220l(a) (Counts III and IV). HHC moves to dismiss the

Complaint pursuant to Fed. R. Civ. P. l2(b)(l) and l2(b)(6) or in the alternative to transfer case

the case to the District of Delaware pursuant to 28 U.S.C. §l404(a).

As discussed, this Court lacks jurisdiction to hear Plaintiff` s claims and, in any event,
Plaintiff has failed to state a viable claim as a matter of laW. Additionally, as explained beloW,
there is now a consolidated active case in Delaware District Court, Civil Action No. l:l7-cv-
00497~LPS, Which includes additional parties and the claims filed in Florida. lndeed, in the
Delavvare action, the additional Plaintiff and HHC are likewise suing Gentex under identical
claims Which form the subject matter of the instant case. (A true and correct copy of the
Delavvare Amended Complaint is attached as Exhibit A)

SUMMARY OF THE ARGUMENT

The Complaint alleged that HHC is in breach of a Settlement and Release Agreement
among the Parties effective on June l, 20l5. On December 20, 2012, GenteX commenced an
action in this Court seeking to enjoin HHC and its principal, Ronald Abbott, from infringing
Gentex’s trademarks in connection With HHC’s sales of flight helmets. See Second Amended
Complaint, Genl'ex Corp. v. Ronala’ Ab})ol‘t, et al., C.A. No. 3:l2~cv-O2549 (l\/l.D. Pa.)
(hereinafter referred to as the “prior Pennsylvania action”). GenteX, HHC, and Abbott agreed to
settle the dispute concerning the trademark, and, pursuant to Federal Rule of Civil Procedure
4l(a)(l)(ii), executed a Stipulation and Order of Dismissal With Prejudice, Which mentioned the
settlement agreement but did not reserve the District Court jurisdiction to enforce it.

On June l, 2015, these parties entered into the Settlement and Release Agreement.
Pursuant to paragraph 5 of the Settlement and Release Agreement, HHC agreed to release
Gentex and its agents and representatives “from any and all claims . . . With respect to or in any
Way related to the Dispute.” See Release Agreement attached to Complaint by Plaintiff, Doc. [l],
Exhibit B. Pursuant to paragraph 2 of the Release, HHC and Gentex agreed to jointly file a

Consent Decree. ]a’. jj 2. Pursuant to the stipulated Consent Decree, this Court found that HHC

and GenteX desired to “settle any and all claims, controversies, demands, actions, or causes of
action they had, have or may have against each other arising out of the events referred to in the
Second Amended Complaint and/or Defendant’s Answer, Affirmative Defenses and Counter
Claims”. See Consent Decree, Gentex Corp. v. Ronald Ab/)o[t, et al., C.A. No. 3:l2-cv-O2549
(M.D. Pa.) attached to Complaint by Plaintiff, Doc. [l], EXhibit A.

Also pursuant to the Consent Decrec_, this Court ordered that:

“violation of this Consent Decree shall constitute contempt of this Court and shall

subject the violator(s) to (a) a judgment in favor of the non~violating party(-ies); (b) an

Order compelling the violator(s) to reimburse the non-violating party(-ies) for the

reasonable costs and attorney’s fees incurred in bringing a contempt motion; and...the

court shall retain continuing jurisdiction to enforce the terms of this Consent Decree”.
]d. at 6.

From the date of the settlement, GenteX has blatantly violated antitrust laws and caused
new harms to HHC as well as illicitly monopolizing the entire government market for helicopter
helmets in the United States. On l\/lay l, 2017, HHC filed a Complaint against GenteX and its
sole U.S. commercial distributor (who is located in California), in the United States District
Court for the District of Delaware, alleging violations of the Sherman Act and Clayton Act,
conspiracy in restraint of trade in violation of Section l of the Sherman Act and the Clayton Act ,
monopolization and conspiracy to monopolize in violation of Section 2 of the Sherman Act and
the Clayton Act, civil conspiracy, defamation and conspiracy to defame, unfair and deceptive
trade practices in violation of 6 Del. C. § 2532 (the “DCFA”), violations of the Federal Trade
Commission (“FTC”) Act, 15 U.S.C. § 45, and unjust enrichment (hereinafter referred to as the

“Original Delaware action”). Simultaneously, HHC filed a complaint against Gentex and its sole

U.S. commercial distributor in the Circuit Court of the Eighteenth Judicial District in Brevard
County, Florida, where HHC’s headquarters are located, alleging violations of the Florida
Antitrust Act, Fla. Stat. § 542.l8 et seq., Florida’s Unfair and Deceptive Trade Practices Law,
Fla. Stat. § 501.20l et seq., and Florida state law, which was removed to the United States
District Court for the Middle District of Florida on June 26, 2017 (hereinafter referred to as the
“Florida action”).

Plaintiff alleges that HHC has breached the terms of the Settlement and Release
Agreement and the covenant of good faith and fair dealing by filing the Delaware and Florida
Actions. ln its claim for relief, Plaintiff seeks a declaratory judgment that HHC’s pursuit of the
Delaware and Florida actions violates the Settlement and Release Agreement and other
declaratory relief amounting to a determination that Plaintiff is not in violation of the Sherman
Act “or any other federal or state antitrust law” as alleged in HHC’s Delaware and Florida
claims.

Since the filing of the instant action, there have been numerous developments in the
Delaware and Florida actions l\/lost importantly, another Plaintiff has made the same allegations
against Gentex. lndeed, on luly 3l, 20l7, Government Sales, lnc. (“GSI”), a Connecticut
Company, joined in the Delaware action to address the same antitrust violations which GenteX
has committed and continues to commit against Defendant, and the entire helicopter helmet
market in the United States. GSl has not had a legal dispute with Gentex in the past and has not
entered into any agreements with Gentex which would limit its ability to sue Gentex for its
damages in Delaware. l\/loreover, since the filing of the instant action, the Florida claims and the
Delaware claims have been consolidated into; Civil Action No. l:l7-cv-OO497-LPS. lndeed, all

the appropriate parties from four different states are currently before the Court in Delaware.

Not only does Plaintiff"s complaint fail as a matter of law, the fact is that Delaware
District Court is the only Jurisdiction where the Court has subject matter and personal
jurisdiction over all Plaintiffs and Defendants.] Not only is Delaware District Court the only
forum where Jurisdiction exists against all Defendants, the forum of convenience is Delaware.

Indeed, under Rules l2(b)(l) and l2(b)(6) of the Federal Rules of Civil Procedure, the
instant complaint should be dismissed because of the following reasons: (l) this Court lacks
jurisdiction over Plaintiff`“ s Complaint for breach of the Settlement and Release Agrecment
because pursuant to the Consent Decree this court retained jurisdiction only to enforce the terms
of the Consent Decree and Plaintiff has no independent basis for federal jurisdiction; (2) the
claims filed by HHC in Delaware and Florida were not contemplated or released under the terms
of the Consent Decree or settlement agreement (which are now merged into the Delaware
action); (3) Some of the claims in the current Delaware case accrued after entering into the
trademark settlement agreement and in fact, many of the claims are ongoing; (4) Plaintiff`s
claims in Pennsylvania should be dismissed pursuant to the “first-filed rule” (Civil Action No.
l:l7-cv-O()497-LPS in the District Court of Delaware) which was the first filled action; and (5)
the anti-trust issues on which Plaintiff seeks declaratory relief are jury questions Therefore, this

matter should be dismissed in its entirety or in the alternative, transferred to Delaware.

ARGUMENT AND MEM()RANDUM OF LEGAL AUTH()RITY
STANDARD OF REVIEW
Rule lZ(b)(l) of the Federal Rules of Civil Procedure provides for dismissal of an action
where the court lacks jurisdiction over the subject matter of that action. FED. R. CIV. P l2(b)(l).

A defendant may challenge the existence of subject matter jurisdiction in one of two ways. See

 

‘ Plaintiff itself is a company incorporated in Delaware.

Morz‘ensen v. Fz'rst Fea’. Sav. & Loan Ass’n, 549 F.2d 884, 89l (3d Cir. 1977). A defendant may
assert a “facial challenge to jurisdiction, asserting that plaintiffs’ complaint, on its face does not
allege sufficient [groundsj to warrant the [C]ourt in taking jurisdiction.” Cardz'O-Mea’ical ASSOC.,
Li‘d. v. Crozer-Chesl‘er Med. Clr., 72l F.2d 68, 75 (3d Cir. l983). When assessing a facial
challenge, the Court must assume that “the allegations contained in the complaint are true.”
Mortensen, 549 F.2d at 891.

ln the alternative, a defendant may assert a factual attack on the jurisdictional allegations
in the complaint Gould Elecs., [nc. v. United Stal'es, 220 F.3d l69, 176 (3d Cir. 2000). Where a
defendant utilizes this method, no presumption of truthfulness attaches to the allegations in the
complaint Carpet Group ]m"l v. Orz`em‘al Rug Imps Ass’n, ]nc., 227 F.3d 62, 69 (3d Cir. 2000)
(quoting Morfensen, 549 F.2d at 891). l\/loreover, the Court is not bound to the four corners of
the complaint when determining whether it possesses the power to hear the case. See Gotha v.
United Sz‘ates, ll5 F.3d l76, l78-79 (3d Cir. l977) (citing Mortensen, 549 F.2d at 891). Rather,
the Court is permitted to weigh the available evidence to determine whether subject matter
jurisdiction exists Morz‘ensen, 549 F.2d at 89l. ln doing so, the Court must “satisfy itself as to
the existence of its power to hear the case.” Id. Even when the merits of the claim and
jurisdiction are closely related, the Court may determine jurisdiction without deciding the merits
provided it “demands less in the way of jurisdictional proof than would be appropriate at a trial
stage.” Gould, 220 F.3d at 178 (quoting Mortensen, 549 F.2d at 89l). Furthermore, the existence
of disputed material facts will not preclude the Court from evaluating the jurisdictional
allegations set forth in the complaint ]d.

lt is well established that in a factual attack, the burden to establish the existence of

subject matter jurisdiction rests squarely on the plaintiffs shoulders Packara' v. Provz`oz’em Nat ’Z

Bank, 994 F.3d 1039, 1045 (citing McNutt v. General Motors Acceptance Corp., 298 U.S. 178,
189 (1936)).

Federal Rule of Civil Procedure l2(b)(6) provides for the dismissal of a complaint, in
whole or in part, for failure to state a claim upon which relief can be granted See Fed. R. Civ. P.
12(b)(6). When considering a Rule 12(b)(6) motion, the Court's role is limited to determining if a
plaintiff is entitled to offer evidence in support of her claims See Semerenko v. Cendant' Corp.,
223 F.3d 165, 173 (3d Cir. 2000). The Court does not consider whether a plaintiff will ultimately
prevail. [d. A defendant bears the burden of establishing that a plaintiffs complaint fails to state
a claim. See Gould Elecs. v. United Stal'es, 220 F.3d 169, 178 (3d Cir. 2000).

A pleading that states a claim for relief must contain “a short and plain statement of the
claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). The statement

GCC

required by Rule 8(a)(2) must give the defendant fair notice of what the claim is and the
grounds upon which it rests.’” Erz'ckson v. Pardus, 551 U.S. 89_, 93 (2007) (per curiam)
(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). Detailed factual allegations are
not required Twombly, 550 U.S. at 555. However, mere conclusory statements will not dog “a
complaint must do more than allege the plaintiffs entitlement to relief.”Fowler v. UPMC
Shadysz`de, 578 F.3d 203, 210 (3d Cir. 2009). lnstead, a complaint must “show” this entitlement
by alleging sufficient facts [d. While legal conclusions can provide the framework of a
complaint, they must be supported by factual allegations Ashcroft v. ]qbal, 556 U.S. 662, 664
(2009). As such, “[tjhe touchstone of the pleading standard is plausibility.” Bz`sfrz'an v. Levz'_, 696
F.3d 352, 365 (3d Cir. 2012).

The inquiry at the motion to dismiss stage is “normally broken into three parts: (1)

identifying the elements of the claim, (2) reviewing the complaint to strike conclusory

allegations, and then (3) looking at the well-pleaded components of the complaint and evaluating
whether all of the elements identified in part one of the inquiry are sufficiently alleged.” Malleus
v. George, 641 F.3d 560, 563 (3d Cir. 2011).

Dismissal is appropriate only if, accepting as true all the facts alleged in the complaint, a
plaintiff has not pled “enough facts to state a claim to relief that is plausible on its
face,” Twombly, 550 U.S. at 570, meaning enough factual allegations “‘to raise a reasonable
expectation that discovery will reveal evidence of`” each necessary element. th'llz`ps v. Cly. of
Allegheny, 515 F.3d 224, 234 (3d Cir. 2008) (quoting Twombly, 550 U.S. at 556). “The
plausibility standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer
possibility that a defendant has acted unlawfully.” ]qbal, 556 U.S. at 678. “When there are well~
pleaded factual allegations a court should assume their veracity and then determine whether they
plausibly give rise to an entitlement to relief.” ]d. at 679.

In deciding a motion to dismiss_, the Court should consider the complaint, exhibits
attached to the complaint, and matters of public record. Mayer v. Belz'chick, 605 F.3d 223, 230
(3d Cir. 2010) (citing Pension Benefz`t Guar. Corp. v. th`te Consol. ]ndus., Inc., 998 F.2d 1192,
1196 (3d Cir. 1993)). The Court may also consider “undisputedly authentic” documents when
the plaintiffs claims are based on the documents and the defendant has attached copies of the
documents to the motion to dismiss Pensz'on Bene/il' Guar. Corp., 998 F.2d at 1196. The Court
need not assume that the plaintiff can prove facts that were not alleged in the complaint, see Cily
Of Piltsburgh v. W. Penn Power Co., 147 F.3d 256, 263 & n.13 (3d Cir. 1998), or credit a
complaint‘s “‘bald assertions"’ or “‘legal conclusions,”’ Morse v. Lower Merz`on Sch. Dist., 132
F.3d 902, 906 (3d Cir. 1997) (quoting fn re Bw”lz'ngton Coal Factory Sec. Lz'tig., 114 F.3d 1410,

1429_30 (3d cir. i997)).

ARGUMENT

1. THIS COURT LACKS JURISDICTION TG l-IEAR THIS CASE BECAUSE
PURSUANT TO THE CONSENT DECREE THIS COURT RETAINED
JURISDICTION ONLY TO ENFORCE THE TERl\/lS OF THE CONSENT DECREE
AND PLAINTIFF HAS NO lNDEPENDENT BASIS FOR FEDERAL JURlSDlCTlON.
Federal courts are courts of limited jurisdiction They possess only that power authorized

by Constitution and statute, see Willy v. Coasml Corp., 503 U.S. 131, 136-137, 112 S.Ct. 1076,
1080, 117 L.Ed.2d 280 (1992); Bender v. Wz`llz'amsport Area School Dist., 475 U.S. 534, 541,
106 S.Ct. 1326, 1331, 89 L.Ed.2d 501 (1986), which is not to be expanded by judicial decree,
American Fire & Casually C(). v. Fz`nn, 341 U.S. 6, 71 S.Ct. 534, 95 L.Ed. 702 (1951). 1t is to be
presumed that a cause lies outside this limited jurisdiction, Turner v. chk ofNorth America, 4
U.S. (4 Dall.) 8, 11, 1 L.Ed. 718 (1799), and the burden of establishing the contrary rests upon
the party asserting jurisdiction, McNutz‘ v. General Molors Acceptcmce Corp., 298 U.S. 178, 182-
183, 56 S.Ct. 780, 782, 80 L.Ed. 1135 (1936).

Enforcement of a settlement agreement, whether through award of damages or decree of
specific performance, is more than just a continuation or renewal of the dismissed suit, and hence
requires its own basis for jurisdiction Kokkonen v. Guardian Li`fe fns C0. of Am., 511 U.S. 375,
378 (1994). A federal court does not have jurisdiction over a suit involving a claim for breach of
contract, part of the consideration for which was the dismissal of an earlier federal suit. Ia’. at
381.

When the dismissal is pursuant to cheral Rule of Civil Procedure 41(a)(2), which
specifies that the action “shall not be dismissed at the plaintiffs instance save upon order of the
court and upon such terms and conditions as the court deems proper,” the parties' compliance

with the terms of the settlement contract (or the court's “retention of jurisdiction” over the

settlement contract) may, in the court's discretion, be one of the terms set forth in the order. [d.
When dismissal of an action is pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii),
permitting voluntary dismissal by stipulation, which does not by its terms empower a district
court to attach conditions to the parties' stipulation of dismissal, a district court is authorized to
embody the settlement contract in its dismissal order, or, what has same effect, retain jurisdiction
over the settlement contract, if the parties agree; absent such action, however, enforcement of the
settlement agreement is for state courts, unless there is some independent basis for federal
jurisdiction [d.

Additionally, a breach of the covenant of good faith and fair dealing is a breach of
contract action, not an independent action for breach of a duty of good faith. Hanaway v.
Pal”kesburg Group, LP, 2015 PA Super 263, 132 A.3d 461, 471 (2015), appeal granted in
part 138 A.3d 608 (Pa. 2016)

The prior Pennsylvania action was dismissed pursuant to Federal Rule of Civil Procedure
41(a)(1)(ii). Under the dismissal order, this Court expressly retained jurisdiction only to enforce
the Consent Decree; furthermore, this Court ordered that a motion for contempt was the proper
mechanism for a party alleging a violation of the Consent Decree. Rather than filing a contempt
motion before this Court alleging a violation of the Consent Decree, Plaintiff chose to
improperly file its Complaint alleging breach of the Settlement and Release Agreement.
Plaintiffs Complaint must be dismissed for lack of subject matter jurisdiction, because this
Court did not embody in its dismissal order or expressly retain jurisdiction over the Settlement
and Release Agreement, therefore an action to enforce that agreement requires an independent

basis for jurisdiction Plaintiff has failed to plead and does not have an independent basis for

federal jurisdiction over the actions for breach of the Settlement and Release Agreement or the
accompanying action for breach of the covenant of good faith and fair dealing
11. PLAINTIFF HAS FAlLED TO ALLEGE CONDUCT SUFFICIENT TO STATE A
CLAll\/l FOR BREACH OF THE SETTLEl\/IENT AND RELEASE AGREEMENT OR
THE CGNSENT DECREE.
Under Pennsylvania law, ordinary principles of contract law govern settlement
agreements fn re Cendcmt Corp. Prz`des Liz‘l'g.,233 F.3d 188, 193 (3d Cir.2000). “As with any
contract, it is essential to the formation of a settlement agreement that ‘the minds of the parties

775

should meet upon all the terms, as well as the subject matter, of the [agreementj. Thomas v.

Univ. ofPa., 2007 WL 2891739, at *2 (E.D.Pa. Oct.2, 2007) (quoting Mazzella v. Koken, 559
Pa. 216, 739 A.2d 531, 536 (Pa.1999)). An agreement is valid if “the parties mutually assent to
the terms and conditions of the settlement.” Transporl' lm'l Pool, 2008 WL 2550598, at
*5 (quoting Maz`n Ll'ne Theatres, ]nc. v. Pczmmount Fz`lm Distrz'b. Corp., 298 F.2d 801, 803 (3d
Cir.1962)).

“[Ajn agreement to settle a lawsuit, voluntarily entered into, is binding upon the parties,
whether or not made in the presence of the court, and even in the absence of a writing.” Green v.
.]ohn H. Lewz`S & CO., 436 F.2d 389, 390 (3d Cir.1970); Thomas, 2007 WL 2891739, at
*2; Suber v. Pel‘erson, 2006 WL 1582312, at *3 (E.D.Pa. lurie 2, 2006). “A ‘settlement
agreement is still binding even if a party had a change of heart between the time he agreed to
the terms of the settlement and when those terms were reduced to writing.” Thomas, 2007 WL
2891739, at *2 (quoting Wyndmoor, 1996 WL 117471, at *6).

“The courts of Pennsylvania have traditionally determined the effect of a release using
the ordinary meaning of its language and interpreted the release as covering ‘only such matters

as can fairly be said to have been within the contemplation of the parties when the release was

given.”’ Dubll`n by Dubll'n v. Shusfer, 410 Pa.Super. 1, 6~7, 598 A.2d 1296, 1298»~99 (1991)
(emphasis added), appeal denied, 533 Pa. 600, 617 A.2d 1274 (1992), quoting Estate OfBodnar,
472 Pa. 383, 386, 372 A.2d 746, 748 (1977). l\/loreover, releases are strictly construed so as not
to bar the enforcement of a claim which had not accrued at the date of the execution of the
release. Resti`fo v. McDonala’, 426 Pa. 5, 230 A.2d 199 (1967); Henry Shenk Co. v. Cz'zfy ofErz'e_,
352 Pa. 481, 43 A.2d 99 (1945); Zw”z'ch Geneml Acc. & Li`ab. ]ns. C0. v. Klez'n, 181 Pa.Super.
48, 121 A.2d 893 (1956).

A consent decree is an order that reflects the settlement terms agreed to by the paities,
and that contains an injunction FTC v. Enforma Naturczl Prods., ]nc._, 362 F.3d 1204, 1218 (9th
Cir. 2004) (“[Aj consent decree is ‘no more than a settlement that contains an injunction.’”
(quoting fn re Masters Mafes & Pz`loz‘s Pensz`()n Plan & [RAP Lz`l'z`g., 957 F.2d 1020, 1025 (2d Cir.
1992))); Gates v. Shz'rm, 98 F.3d 463, 468 (9th Cir. 1996) (“[W]hen a decree commands or
prohibits conduct, it is called an injunction.”). The presence of an injunction in the
consent decree makes non-compliance with the settlement terms contempt of court. Local No.
93, ]nl"[ Assoc. ofFire]'ighters v. Cily OfCleveland, 478 U.S. 501, 518 (1986).

Plaintiff and HHC entered into the Settlement and Release Agreement in order to settle
all claims related to the action which Plaintiff filed against HHC for trademark infringement in
this Court in 2012. Pursuant to the Settlement and Release Agreement, the parties agreed to
jointly file a stipulated Consent Decree which reduced the terms of the Settlement Agreement
into a court order and provided a mechanism for enforcement of the order by allowing a party
alleging a violation of the consent decree to seek injunctive relief by filing a contempt motion

before this Court.

Pursuant to the Consent Decree, the parties agreed to “settle any and all claims,
controversies, demands, actions, or causes of action they had, have or may have against each
other arising out of the events referred to in the Seeond Amended Complaint and/or
Defendant’s Answer, Affirmative Defenses and Counter Claims”. See Consent Decree jj 8,
Gentex Corp. v. RonaldAb/)ott, er al., C.A. No. 3:12-cv-02549 (l\/l.D. Pa,) (emphasis added). The
second amended complaint referred to in the Consent Decree included causes of action filed by
Plaintiff against HHC for alleged trademark infringement and the unlawful business practices of
displaying Plaintiff s trademarks without authorization ln HHC’s answer it raises the affirmative
defenses that: Plaintiff failed to join an indispensable party; Plaintiffs trademarks were generic;
Plaintiff had committed fraud on the U.S. Patent and Trademark Office_; Plaintiffs trademarks
had been abandoned; HHC’s use of Plaintiff trademarks was descriptive; acquiescence; and the
doctrine of Laches. 1n HHC’s counterclaim, it sought cancellation of Plaintiff s trademarks under
the Lanham Act.

Tellingly, in the stipulated Consent Decree, HHC and Plaintiff specifically settled claims
“referred to in the Second Amended Complaint and/or Defendant’s Answer, Affirmative
Defenses and Counter Claims.” The controversies/actions which HHC has recently brought in
DE and FL for violations of state and federal anti-trust law, unfair competition, and defamation
do not, in any way, arise out of the events referred to in the previous case which were related to
HHC’s alleged unauthorized use of Plaintiffs trademarks Based on the ordinary meaning of the
language, the claims filed by HHC in Delaware and Florida (which are ongoing claims of
antitrust violation and ongoing defamation and unfair competition) were not contemplated or
released under the terms of the Consent Decree and therefore, as a matter of law, and as a matter

of the four corners of Plaintiff s complaint, this case must be dismissed because it failed to allege

that HHC has violated any of the terms of the Consent Decree and because the claims being

pursued are not released under the Consent Decree of Settlement Agreement.

111. PLAINTIFF’S CLAll\/lS FOR DECLARATORY RELIEF SHOULD BE DlSl\/HSSED
PURSUANT TC) THE “FlRST-FILED RULE”, AND HHC lS ENTlTLED TO A JURY
TRlAL lN THE DELEWARE AND FLORIDA ACTIONS.

The “first-filed rule” is a comity-based doctrine stating that, when duplicative lawsuits
are filed successively in two different federal courts, the court where the action was filed first has
priority. Chavez v. Dole Fooa’ Co., Inc;, 836 F.3d 205, 210 (3d Cir. 2016) Application of the
first-filed rule is discretionary ]a’. ln some cases, “first-filed” courts have relied on the rule to
enjoin litigation in other jurisdictions [a'. 1n other cases, “second-filed” courts have cited the rule
to defer consideration of a matter until proceedings have concluded elsewhere [d.; S€e E.E. O.C.
v. Univ. OfPa., 850 F.2d 969, 972 (3d Cir. 1988), ajj"d On other grounds 493 U.S. 182, 110 S.Ct.
577, 107 L.Ed.2d 571 (1990) (“[Wje review [aj district court's order [under the first-filed rule]
for abuse of discretion.”). lf a second~filed court decides to invoke the rule, it also has the
discretion to decide whether to stay, transfer, or dismiss the case before it. Chavez, 836 F.3d at
210.

The Third Circuit initially adopted the first-filed rule in Crosley Corp. v. chzeltz`ne Corp,
122 F.2d 925, 929~30 (3d Cir. 1941). Crosley, like all first-filed cases, involved two duplicative
actions ln the first, Crosley sued Hazeltine in federal district court in Delaware to contest the
validity of several of Hazeltine's patents ln the second, Hazeltine sued Crosley in federal district
court in Ohio, alleging that Crosley had infringed several of the same patents at issue in
Delaware. Crosley asked the Delaware District Court to enjoin the Ohio suits, but it refused The

court reversed with instructions to enter a temporary injunction stating that “[tjhe party who first

brings a controversy into a court of competent jurisdiction for adjudication should, so far as our

dual system permits, be free from the vexation of subsequent litigation over the same subject
matter.” ]d. at 930.

ln in its Complaint, Plaintiff demands entry of a judgment that it “did not violate the
Sherman Act or any federal or state antitrust laws.” ln the action filed against Plaintiff in
Delaware on l\/lay 1, 2017, as well as the current case, HHC has alleged, that Plaintiff has
violated the Sherman Act, Clayton Act, and other federal antitrust laws The action filed against
Plaintiff in Florida on l\/lay 1, 2017, has been consolidated with the Delaware action, and the
Delaware action is the “first-filed”, lawsuit concerning the parties and the antitrust matters

When the “first-filed” rule is applied to Plaintiffs Complaint, this Court has the
discretion to stay, transfer, or dismiss Plaintiff s Complaint because it was the “second-filed”.
Accordingly, this Court should dismiss Plaintiff"s Complaint and allow the controversies
between the parties to be resolved in the courts where they were filed first and are now
conveniently consolidated into one nationwide antitrust action in Delaware.

Furthermore, the Declaratory ludgment Act, while allowing prospective defendants to
sue to establish their non-liability, specifically preserves the right to jury trial for both parties
Beacon Theaz‘res, Inc. v. Wesrover, 359 U.S. 500, 504 (1959). Only under the most imperative
circumstances can the right to a jury trial of legal issues be lost through prior determination of
equitable claims [d. at 510~1 1.

ln Beacon, the court determined that the right to trial by jury applies to treble damage
suits under the antitrust laws, and is, in fact, an essential part of the congressional plan for
making competition rather than monopoly the rule of trade, the antitrust issues on which one of
the parties sought a declaration were essentially jury questions Id. at 504. lf the other party

would have been entitled to a jury trial in a treble damage suit_, they cannot be deprived of that

right merely because the other party took advantage of the availability of declaratory relief to sue
first. ]d.

As was the case in Beacon, here Plaintiff seeks a declaration on antitrust issues HHC has
a right to trial by jury under antitrust laws in its actions for damages in the current consolidated
Delaware case. The antitrust issues on which Plaintiff seeks a declaration are questions for a
jury, and HHC should not lose its right to trial by jury merely because Plaintiff seeks declaratory

relief.

lV. ll\l THE ALTERNATl\/E, SHOULD PLAINTIFF’S CAUSE OF ACTION NOT BE

DlSl\/IISSED, THIS CASE SHOULD BE TRANSFERRED TO DELAWARE

Even if this case is not dismissed, pursuant to 28 U.S.C. 1404(a), this case should be
transferred to Delaware. 1n Cnnt’l Graz'n Co. v. The FBL-585, 364 U.S. 19, 26 (1960), the U.S.
Supreme Court States: “To permit a situation in which two cases involving precisely the same
issues are simultaneously pending in different District Courts leads to the wastefulness of time,
energy and money that section 1404(a) was designed to prevent.”

l\/loreover, and equally important is the reality that Delaware is the only Jurisdiction
which has subject matter and personal jurisdiction over all Defendants and Plaintiffs. Gentex is a
Delaware Company, Government Surplus Sales, lnc. is a Connecticut Company, Flight Suits (2“d
Defendant in Delaware is a California Company, and HHC is a Florida Company. As alleged in
the current Delaware antitrust case (See Exhibit A), significant damages occurred in the State of
Delaware which includes antitrust claims based on improper competition involving the Delaware

State Police Department.

While the antitrust violations have occurred in Delaware, neither HHC or Government
Surplus Sales, lnc. have information concerning any damages they have incurred in this District.
Therefore, this Court does not have Personal lurisdiction over Government Surplus Sales, lnc.
nor Flight Suits, nor, HHC. Furthermore, it is anticipated that additional Plaintiffs will join
against Gentex for their Antitrust violations which Gentex has caused in the helicopter helmets
market of the United States. Therefore, because the damages accrued in Delaware and not in the
l\/liddle District of Pennsylvania, only Delaware maintains jurisdiction over all the parties

CONCLUSION

The instant complaint should be dismissed under Rules 12(b)(1) and l2(b)(6) of the
Federal Rules of Civil Procedure because of the following reasons: (1) this Court lacks
jurisdiction over Plaintiffs Complaint for breach of the Settlement and Release Agreement
because pursuant to the Consent Decree this court retained jurisdiction only to enforce the terms
of the Consent Decree and Plaintiff has no independent basis for federal jurisdiction; (2) the
claims filed by HHC in Delaware and Florida were not contemplated or released under the terms
of the Consent Decree or settlement agreement (which are now merged into the Delaware
action); (3) Some of the claims in the current Delaware case accrued after entering into the
trademark settlement agreement and in fact, many of the claims are ongoing; (4) Plaintiffs
claims in Pennsylvania should be dismissed pursuant to the “first-filed rule” (Civil Action No.
1:17-cv-00497-LPS in the District Court of Delaware) which was the first filled action; and (5)
the anti-trust issues on which Plaintiff seeks declaratory relief are jury questions Therefore, this

matter should be dismissed in its entirety or in the alternative, transferred to Delaware.

WHEREFORE, for the foregoing reasons Plaintiff s Complaint should be dismissed

under Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure or in the alternative,

transferred to Delaware.

Respectfully submitted,

/§// fowlan Orio~, III, fig/me
joseph F. Orso, 111, Esquire

Rudinsl<i, Orso & Lynch

339 l\/larl<et Street

Williamsport, PA 17701

